Case 2:18-cv-00892-TC-DBP        Document 560 Filed 01/30/25       PageID.13750       Page 1
                                          of 12




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                       IN THE UNITED STATES DISTRICT COURT
                  FOR THE DISTRICT OF UTAH, CENTRAL DIVISION

  COMMODITY FUTURES TRADING
  COMMISSION, and
                                                 RECEIVER’S TWENTY-FIFTH
  STATE OF UTAH DIVISION OF                      QUARTERLY STATUS REPORT
  SECURITIES, through Attorney General
  Sean D. Reyes                                   For the period October 1, 2024 to
                Plaintiffs,                              December 31, 2024

         vs.
  RUST RARE COIN INC., a Utah
  corporation, and GAYLEN DEAN RUST, an               Civil No. 2:18-cv-00892-TC
  individual, DENISE GUNDERSON RUST,
  an individual, JOSHUA DANIEL RUST, an                Honorable Tena Campbell
  individual,
                                                      Magistrate Judge Dustin Pead
                Defendants;
  and
  ALEESHA RUST FRANKLIN, an
  individual, R LEGACY RACING INC., a
  Utah corporation, R LEGACY
  ENTERTAINMENT LLC, a Utah limited
  liability company, and R LEGACY
  INVESTMENTS LLC, a Utah limited
  liability company.
                Relief Defendants.
Case 2:18-cv-00892-TC-DBP             Document 560 Filed 01/30/25            PageID.13751       Page 2
                                               of 12




           Jonathan O. Hafen, the Court-Appointed Receiver for the assets of Rust Rare Coin Inc.,

 Gaylen Dean Rust, Denise Gunderson Rust, Joshua Rust, Aleesha Rust Franklin, R Legacy

 Racing Inc., R Legacy Entertainment LLC, and R Legacy Investments LLC (collectively,

 “Receivership Defendants”), hereby submits this Twenty-Fifth Quarterly Status Report for the

 period of October 1, 2024 through December 31, 2024, pursuant to Section XIII, paragraph 53 of

 this Court’s Order Appointing Receiver and Staying Litigation, dated November 27, 2018 (the

 “Appointment Order”). See Dkt. No. 54.

    As instructed by the Court, this Report addresses:

    I.          A summary of the operations of the Receiver, including significant developments
                during the quarter.

    II.         A summary of the current financial condition of the Receivership.

    III.        A summary of the receipts and disbursements of the Receivership.

    IV.         A description of known Receivership property, including approximate valuations and
                anticipated dispositions.

    V.          A description of liquidated and unliquidated claims of the Receivership, including the
                need for forensic and investigatory resources, approximate values of those claims,
                and anticipated methods of enforcing such claims.

    VI.         A list of known creditors of the Receivership.

    VII.        The status of creditor claims proceedings.

    VIII.       The Receiver’s recommendations for continuation of the Receivership.

           I.      SUMMARY OF OPERATIONS OF THE RECEIVER, INCLUDING
                   SIGNIFICANT DEVELOPMENTS DURING THE QUARTER

           A.      General Developments

                   1.      Claw Back Actions. As previously reported, the Receiver and his team

 have filed numerous claw back actions against approximately 124 different investors seeking


                                                     2
Case 2:18-cv-00892-TC-DBP          Document 560 Filed 01/30/25              PageID.13752        Page 3
                                            of 12




 recovery of amounts they were paid in excess of their actual investments. As discussed in more

 detail below 1, the Receiver continues to work closely with net winners and their counsel to

 secure favorable resolutions of such actions.

                 2.     Second Interim Distribution. As set forth in more detail in Section III

 below, the Receiver is pleased to report to the Court that he has made a second interim

 distribution to Class 4 Claimants in the amount of $5,892,244.83, bringing the total amount

 distributed to Claimants to nearly twenty-eight million dollars.

          B.     Liquidation of Real Property. The Receiver did not liquidate any real property

 during this quarter. Other than the personal residence owned by Joshua Rust, the Receiver

 believes he has liquidated all real property in the Receivership Estate.

          C.     Liquidation of Tangible Personal Property. The Receiver did not liquidate any

 tangible personal property during this quarter. Other than certain coins owned by Joshua Rust,

 the Receiver is not aware of any remaining personal property of material value but continues to

 look for any such property.

          D.     Recovery and Sale of Other Receivership Property.

                 1.     Investor Communications. The Receiver continues to post updates to the

 Receivership’s website (rustrarecoinreceiver.com) when filings are made with the Court. The

 Receiver has also distributed by email copies of all filings and notices to the approximately 800

 individuals listed on the Receiver’s master mailing matrix. The Receiver also continues to

 communicate with investors about objections and proposed actions. The Receiver has also filed




 1
     See Section V.


                                                  3
Case 2:18-cv-00892-TC-DBP          Document 560 Filed 01/30/25              PageID.13753        Page 4
                                            of 12




 all objections on behalf of investors, when required by the Court’s Summary Disposition

 Procedures.

                2.      Tax Issues. The Receiver continues to work with his accountants at

 Berkley Research Group (“BRG”) to ensure the Receivership’s various tax obligations are being

 met, including the amounts owed in relation to any Receivership property and the amounts

 associated with the business entities still within the scope of the Receivership Estate.

                3.      Discovery Productions and Redaction. The Receiver has compiled and

 produced a vast number of documents, including financial statements and investor

 communications, for the benefit of the Court, investors, and net winners in claw back actions.

 Currently, over 300,000 documents have been reviewed for production. In addition to the

 substantial amount of time reviewing, compiling and producing documents, the Receiver has also

 completed a large-scale redaction of documents. In an effort both to ensure the privacy of

 hundreds of victims and minor children, while still respecting the rights of net winner litigants to

 documents, the Receiver has created a set of redacted documents for production in his ancillary

 litigation proceedings. These documents have been redacted for social security numbers, birth

 dates and account numbers of investors.

        II.     SUMMARY OF THE CURRENT FINANCIAL CONDITION OF THE
                RECEIVERSHIP

        The Receiver had sufficient cash during this quarter to cover all expenses of the

 Receivership Estate and believes that he will continue to have sufficient cash in the Estate to

 cover all foreseeable expenses. The Receiver is not concerned that the Estate will be unable to

 cover its ongoing expenses as the Receiver, his counsel, and his accountants at BRG have

 voluntarily agreed to refrain from taking any fees until the Estate recovers at least three times the


                                                   4
Case 2:18-cv-00892-TC-DBP           Document 560 Filed 01/30/25               PageID.13754     Page 5
                                             of 12




 amount of their fees. Through the end of the quarter, the Receiver and his team’s efforts have

 recovered approximately $54 million for the Receivership Estate.

        III.    DESCRIPTION OF RECEIPTS AND DISBURSEMENTS

                1.      The Receiver is pleased to announce to the Court that on December 23,

 2024, the Receiver made a second interim distribution in the amount of $5,892,244.83 to Class 4

 Claimants, which are unsecured creditors and defrauded investors. This second interim

 distribution brought Class 4 claimants to 30% recovery under the court-approved rising tide

 methodology.

                2.      The Receiver anticipates making additional distributions in the future from

 the Receivership Estate, but at this time, he does not know when such distributions will be made

 or the amount to be distributed. The timing and amount of future distributions will be

 determined in the coming months as pending litigation and remaining disputed claims are

 resolved.

                3.      The Receiver continues to collect outstanding accounts receivable for the

 Receivership Defendants. A schedule of the receipts and disbursements of the Receiver is

 attached hereto as Exhibit A.

                4.      As previously reported, the Receiver believes that he has identified most,

 if not all, of the physical assets that fall within the scope of the Receivership Estate.

        IV.     DESCRIPTION OF ALL PHYSICAL RECEIVERSHIP PROPERTY

        Other than personal assets of Joshua Rust, no physical assets of any material value

 remain in the Receivership Estate. If and when the Receiver is able to sell any remaining

 physical assets, their value will be determined by what an arms-length buyer is willing to pay.



                                                    5
Case 2:18-cv-00892-TC-DBP           Document 560 Filed 01/30/25              PageID.13755       Page 6
                                             of 12




        V.      DESCRIPTION OF LIQUIDATED AND UNLIQUIDATED CLAIMS

                1.       As previously reported to the Court, over 80 different investor groups and

 several hundred individual investors have been identified in this matter.

                2.       Based on the net winner analyses provided by BRG, the Receiver

 identified millions of dollars of net winner claims which the Receiver continues working to

 recover.

                3.       The Receiver has engaged in formal and informal settlement negotiations

 with many net winners, while protecting the Receivership Estate’s interest with tolling

 agreements. Many of these negotiations have resulted in recoveries for the Receivership Estate,

 and others have reached impasses resulting in the Receiver filing additional ancillary actions in

 order to move matters forward.

                4.       As part of the Receiver’s recovery efforts, scores of ancillary lawsuits

 have been filed against potential claw back defendants of the Receivership Estate. In total, these

 actions include numerous separate claw back filings against over 100 different investors. The

 Receiver and his team continue to either prosecute these claims or settle them when favorable

 terms can be reached.

                5.       As set forth above and in prior reports, the Receiver made a significant

 effort to minimize the number of necessary filings by coordinating the execution of over 170

 tolling agreements with various investors. The Receiver has terminated all tolling agreements

 with net winners and has commenced litigation against those parties. The Court granted the

 Receiver’s motion to terminate three tolling agreements, paving the way for the Receiver to

 bring claims against these parties. See Dkt. No. 552.



                                                   6
Case 2:18-cv-00892-TC-DBP             Document 560 Filed 01/30/25             PageID.13756         Page 7
                                               of 12




                  6.      As a result of the Court granting the Receiver’s Motion for Settlement

 Authority (See Dkt. No. 271), and the Receiver’s ongoing settlement efforts, this quarter the

 Receiver entered into two settlement agreements that recovered approximately $196,800. The

 Receiver continues to finalize settlement agreements and negotiate with investors and creditors.

 These agreements attempt to get the largest return of funds while minimizing administrative

 burden to the Receivership Estate. The Receiver remains hopeful that much of the outstanding

 fraudulently transferred funds will be recovered without having to incur the cost of formal

 litigation.

           VI.    LIST OF KNOWN CREDITORS OF THE RECEIVERSHIP

           As previously reported to the Court, the Receiver initiated the claims process which

 included a claims deadline of October 4, 2019. As a result of this process, the Receiver received

 approximately 627 claim forms from potential claimants and creditors of the Receivership

 Estate.

           VII.   STATUS OF CREDITOR CLAIMS PROCEEDINGS

           As set forth above, the Receiver and his team have successfully completed the claims

 analysis process. Only three unresolved claims remain, which are either involved in claw back

 litigation or are stayed by the Court. The Receiver continues to diligently resolve each

 unresolved claim while minimizing expenses to the Receivership Estate

           VIII. RECOMMENDATION TO CONTINUE THE RECEIVERSHIP

           Now that the Receiver has liquidated most, if not all, of the physical assets in the Estate,

 the Receiver’s main focus is on recovering a significant amount of funds from various claw back

 defendants. The Receiver anticipates that the continuation of the Receivership will generate a



                                                     7
Case 2:18-cv-00892-TC-DBP          Document 560 Filed 01/30/25              PageID.13757         Page 8
                                            of 12




 significant amount of additional funds that will ultimately be distributed for the benefit of

 Claimants. Accordingly, the Receiver recommends the continuation of the Receivership.

        DATED this 30th day of January 2025.

                                               PARR BROWN GEE & LOVELESS

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                                                  8
Case 2:18-cv-00892-TC-DBP          Document 560 Filed 01/30/25              PageID.13758          Page 9
                                            of 12




                                  CERTIFICATE OF SERVICE

        I hereby certify that service of the above RECEIVER’S TWENTY-FIFTH

 QUARTERLY STATUS REPORT was (1) emailed to all those on the master mailing matrix

 maintained by the Receiver; (2) posted on the Receiver’s website (rustrarecoinreceiver.com); and

 (3) electronically filed with the Clerk of the Court through the CM/ECF system on January [31],

 2025, which sent notice of the electronic filing to all counsel of record, as indicated below:

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                                                  9
Case 2:18-cv-00892-TC-DBP    Document 560 Filed 01/30/25   PageID.13759   Page
                                   10 of 12




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                                            10
Case 2:18-cv-00892-TC-DBP     Document 560 Filed 01/30/25   PageID.13760   Page
                                    11 of 12




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                                            11
Case 2:18-cv-00892-TC-DBP     Document 560 Filed 01/30/25       PageID.13761   Page
                                    12 of 12




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                                            12
